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                           UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA                             1 q   rrT?
                                Newport News Division
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                                                                        CU'-.RK. US [)^"i;vTCCuRr

UNITED STATES OF AMERICA,


v.

                                                      Action No. 4:07cr80

SHARON RILES,


              Defendant.




                        ACCEPTANCE OF PLEA OF GUILTY,
                            ADJUDICATION OF GUILT and
                              NOTICE OF SENTENCING



       Pursuant to the Report and Recommendation of the United States Magistrate

Judge, to which there has been no timely objection, the plea of guilty of the defendant

to Count 1 of a four (4) count Indictment, is now CONDITIONALLY ACCEPTED and the

defendant will be ADJUDGED GUILTY of such offense at the sentencing.

       Sentencing is hereby scheduled for January 17, 2008 at 3:00 p.m.

       The Clerk is DIRECTED to forward a copy of this Order to counsel for defendant

and to the Assistant United States Attorney.

       IT IS SO ORDERED.




                                                      Walter D.Kelley, Jr.
                                                      United States District Judge
Norfolk, Virginia
November J£_, 2007
